Case 23-21939-JNP   Doc 1   Filed 12/28/23 Entered 12/28/23 20:54:21   Desc Main
                            Document      Page 1 of 5
Case 23-21939-JNP   Doc 1   Filed 12/28/23 Entered 12/28/23 20:54:21   Desc Main
                            Document      Page 2 of 5
Case 23-21939-JNP   Doc 1   Filed 12/28/23 Entered 12/28/23 20:54:21   Desc Main
                            Document      Page 3 of 5
Case 23-21939-JNP   Doc 1   Filed 12/28/23 Entered 12/28/23 20:54:21   Desc Main
                            Document      Page 4 of 5
Case 23-21939-JNP   Doc 1   Filed 12/28/23 Entered 12/28/23 20:54:21   Desc Main
                            Document      Page 5 of 5
